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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUⅣ IBIA

 UNITED STATES OF AⅣ IERICA
              V。                                  Crillllinal No.19…   cr… 18‐   ABJ

 ROGER J.STONE,駅         。
                         ,




                               Defendant.



                               NOTICE OF WITHDRAWAL
       Pursuant to Local Rulc of C五 minal Procedllrc 44.5(c),plCasc notice thc withdrawal of

Aaron C.Jed as counsel fbrthc govcrlmcntin the above― captioned inatter.




                                                  Respectfully submitted,




                                                  Special Assistant United States Attorllcy
                                                  555 4th Street NW
                                                  Washington,DC 20530


February 11,2020
